                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


FIRST ACCEPTANCE CORPORATION,                          )
                                                       )
           Plaintiff,                                  )
                                                       )
v.                                                     )      Civil Action No. 3:12-CV-00484
                                                       )      Trauger/Brown
                                                       )
CATLIN INSURANCE COMPANY (UK),                         )
LTD.,                                                  )
                                                       )
           Defendant.                                  )




                JOINT STIPULATION FOR ENTRY OF ORDER OF DISMISSAL
                                 WITH PREJUDICE

           Come now the Plaintiff, First Acceptance Corporation, and the Defendant, Catlin

Insurance Company (UK), Ltd., by and through their undersigned counsel and file this Joint

Stipulation for entry of an Order of Dismissal with Prejudice and in support thereof state the

following:

           1.     The parties have amicably resolved the claims asserted within the above-styled

cause and have exchanged the appropriate settlement documents to include a Claim Release

properly endorsed by First Acceptance Corporation in favor of Catlin Insurance Company (UK),

Ltd. thereby discharging any and all obligations of the Defendant to the Plaintiff as a result of the

actions or causes of action asserted or which could have been asserted herein.

           2.     Pursuant to the terms and provisions of the Claim Release, each party is

responsible for their own attorneys’ fees and costs.


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           3.     The Plaintiff, consistent with the terms of the settlement agreement and Claim

Release, has agreed to the entry of an Order of Dismissal with Prejudice in the above-referenced

lawsuit.

           WHEREFORE, the parties, by and through their respective counsel, notify the Court that

the subject claim has been amicably resolved, the appropriate Claim Release has been endorsed

by First Acceptance Corporation, in favor of Catlin Insurance Company (UK), Ltd. and the

parties have further agreed to and respectfully request the entry of an Order dismissing with

prejudice the above-styled cause.

           Respectfully submitted this 12th day of March, 2013.

                                               WOOLF, McCLANE, BRIGHT,
                                                ALLEN & CARPENTER, PLLC


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                                 CERTIFICATE OF SERVICE

         I hereby certify that on March 12, 2013, a copy of the JOINT STIPULATION FOR
ENTRY OF ORDER OF DISMISSAL WITH PREJUDICE was filed electronically. Notice of
this filing will be sent by operation of the Court’s electronic filing system to all parties indicated
on the electronic filing receipt. All other parties will be served by regular U.S. mail. Parties may
access this filing through the Court’s electronic filing system.

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                                               /s/ Luis C. Bustamante
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